                                 Case 23-10831-MFW              Doc 929-3       Filed 01/22/24         Page 1 of 1

                                                            EXHIBIT B

                                                  Lordstown Motors Corp., et al.
                                                        Case No. 23-10831
                                      Summary of Hours and Discounted Fees Incurred by Category
                                           December 1, 2023 through December 31, 2023


                                                                                        Total           Total Fees
              Category                                                   Exhibit    Billed Hours        Requested

              Audit Services                                               C1               68.9   $        19,775.00
              Retention Services                                           C2                0.0   $              -
              Fee Application Preparation Services                         C3                6.2   $         1,753.20

                                        Total                                               75.1   $        21,528.20




KPMG LLP Monthly Fee Statement                                                                                          Page 2 of 12
